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Victor Sean Of The
House and Lineage of
Dennison, Child of The
Most High God, Grantor
of Original Jurisdiction
and Beneficiary of The
Resulting Trust.
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Repentance, Petition To Make
Whole

2/17/23




To the venerable Clerk of The Court,




3 Maxims of Trust

   1)      Everything is trust and there is nothing that is not
          trust.
   2)      No trust can fail for want of a trustee
   3)      One of the primary responsibilities of the trustee is
          to protect the trust.

I declare I am, known as Victor Sean of the house and
lineage of those known as Dennison near
                                 comingvtothismatter,
specially, by way of visitation as a friend of the court to
recognize the trust and the trustee.

After the birth of Victor Sean of Dennison on                        ,
my mother, grantor, co-trustee and fiduciary, made
application to the state of Florida for a birth certificate,
which is a license to engage in commerce. The state of
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Florida, on              , created a new trust, VICTOR SEAN
DENNISON, which then allowed Victor Sean of Dennison to
participate in commerce. The state of Florida, as grantor of
the newly formed trust assigned trustees for VICTOR SEAN
DENNISON. Refer to case # 3:23-mj-00172-DDL issued by
United States District Court for the District of Columbia.




I am beneficiary of VICTOR SEAN DENNISON trust. I repent
of all trespasses I committed against the trust. I did so out
of ignorance and ask the court for forgiveness. I made a
mistake. I



Upon my religious and other studies with understanding and
education of the matter, I, Victor Sean of Dennison, child of
God, hereby declare that I am not surety for the commercial
trust! I recognize The United States District Court for D.C.,
trustee for VICTOR SEAN DENNISON.




As a friend of the court I, Victor Sean of Dennison,
encourage the court to perform the duties of trustee and
protect the trust from unsubstantiated claims brought by
unvetted parties.




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It looks as though there have been pirates and privateers
afoot, which have attempted an attack on the VICTOR SEAN
DENNISON trust.




I thank you for looking after the trust. I kindly ask for you
to look into the matter, for I have no access to the
accounting of the trust, and I am relying on the trustee. All
future communications which are m         rs of the trust are to
                                                            ('
be served upon the Clerk of the Cou        rtste ,      c
                                                                 .rIc k.!M -y-r- .

           ?ETVT1              -m
Me and my property have been damaged, my peace has been
stolen from me without cause. My SUV was ransacked and
stolen from me. My uPhone iPad and Laptop were taken
from me. I was kidnapped against my will, man handled,
threatened with guns, my body dragged, shackled, bruised,
degraded and imprisoned without warrant and without
merit. My life was threatened. I have suffered in myriad
ways including mental anguish. I have been damaged. My
property has been damaged. If my body is owned by
anyone, it's owned by God Almighty. It's in trust.




I am petitioning the court so that I can be made whole. I
want to be made whole again. I am asking to be made
whole again at the discretion of trustee's determination.




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Thank you for your forthright administration of the trust,
and care and protection of the beneficiary.

Equity being synonymous with fairness in trust law, I
recognize the maxim of equity: "Equity will not aid a
volunteer." And I do not volunteer to participate in this
commercial system. I am here by divine special
appointment.

By:


                              1-                 /V1A
                                                                j(2




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